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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

UNITED STATES OF AMERICA                     )      Criminal Case No. 7:13-cr-00038-1
                                             )
v.                                           )      ORDER
                                             )
OSHAY TERRELL JONES,                         )      By:     Hon. Robert S. Ballou
    Petitioner.                              )              United States Magistrate Judge

       Oshay Terrell Jones filed a pro se motion to vacate, set aside or correct sentence pursuant

to 28 U. S. C. § 2255. On May 2 2016, the court ordered the United States to respond to the

§ 2255 motion within sixty days, and on May 5, 2016, the court received Petitioner’s motion to

amend the § 2255 motion. Petitioner seeks to supplement claim seven and submit an unsigned

“affidavit” from former counsel in support of the § 2255 motion. Appearing proper to do so, the

motion to amend is GRANTED as to the amendment of claim seven and DENIED as to the

unsigned “affidavit.”

       It is so ORDERED.

                                             Enter: June 13, 2016
                                             /s/ Robert S. Ballou
                                             Robert S. Ballou
                                             United States Magistrate Judge
